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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                 District District
                                             __________   of Massachusetts
                                                                   of __________


                           Doe, et al.                         )
                             Plaintiff                         )
                                v.                             )      Case No.     1:25-cv-10135-LTS
                         Trump, et al.                         )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          State of Tennessee as Amicus Curiae                                                                          .


Date:          02/04/2025                                                             /s/James Matthew Rice
                                                                                         Attorney’s signature


                                                                                 James Matthew Rice (TN #040032)
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